Case 1:16-cv-02307-CRC Document5 Filed 02/10/17 Page 1 of 4

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 7, VE CYAZ. ZO T- Cec

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

. . a . . —_———? } . —s
This summons for (name of individual and title, if any) en Pere < ( 12 ff = eae GEL.
was received by me on (date) a lal Qp fol /

© I personally served the summons on the individual at (place)

 

on (date) 3 or

 

© I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or
YO \ served the summons on (name of individual) LE rpisf - 2 ao ie af 0
designated by law to accept service of process on behalf of (name of siaiitzal On) pe = ?
mo ~ rg " ies ' *
(v OSS haar hve es on (date) 44) [BATE 2°93 or—

Cj I returned the summons unexecuted because Sor

 
 

 

O Other (specify):

My fees are$ (42,7 for travel and$ 24 «© for services, for a total of $ 000" ZF IS. 2 < >

I declare under penalty of perjury that this information is true.

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Date: _A/ lip feo] 0 gL see _

 

 

Server's signature

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Printed name and title

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Server’s address

  

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Additional information regarding attempted service, etc:

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Clerk, U.S. District & Bankruptcy
Courts for the District of Columbia
Case 1:16-cv-02307-CRC Document5 Filed 02/10/17 Page 2 of 4

AO 440 (Rev, 06/12) Summons in a Civil Action (Page 2)
Civil Action No. : A

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ, P. 4 (1)

 

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was received by me on (date) 7) / “pn, | OF) l / : /

 

© I personally served the summons on the individual at (place)

 

on (date) ; or

 

OJ left the summons at the individual’s residence or usual place of abode with (name)

 

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

 

(K I served the summons on (name of individual) (4 } NOY coal “LAVID* Ron BA af « , Whois
— = Vv

designated by law to accept service of process on behalf of (name of organization)

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© Other (specify);

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I declare under penalty of perjury that this information is ih

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Case 1:16-cv-02307-CRC Document5 Filed 02/10/17 Page 3 of 4

AO 440 (Rev, 06/12) Summons in a Civil Action (Page 2)
Civil Action No. / bletv 62 BOT -CRLO

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

 

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© I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

OI served the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or

 

© | returned the summons unexecuted because 5 or

Other (specify);

My fees are $ . Ay Lf for travel and $ ; re) for services, for a total of $ [8 2
SOT LAS B.00— 77

I declare under penalty of perjury that this “ep is true,

Date: LO for 7 «ff Ce

Server's signature

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Case 1:16-cv-02307-CRC Document5 Filed 02/10/17 Page 4 of 4

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. /'s / ( CY' 024307 -Cer

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I)

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was received by me on (date) YD / i> /- 9 ->/_ ; re

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, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

 

© I served the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of (name of organization)

on (date) 3 or

 

© J returned the summons unexecuted because 5 or

 

O Other (specifi):

My fees are $ — I for travel and $ AS, we for services, fora total of $ 0-00 96,08

I declare under penalty of perjury that this information is true,

 

Date:

 

 

 

Server's signature

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